Case 2:18-cv-08048-SVW-JC    Document 165   Filed 12/12/19   Page 1 of 2 Page ID
                                   #:5872



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 11                      UNITED STATES DISTRICT COURT
 12                    CENTRAL DISTRICT OF CALIFORNIA
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 14 VERNON UNSWORTH,                        Case No. 2:18-cv-08048
 15             Plaintiff,                  Judge: Hon. Stephen V. Wilson
 16       vs.                               [JOINTLY PROPOSED] ORDER OF
                                            FINAL JUDGMENT
 17 ELON MUSK,
 18             Defendant.
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                                            [JOINTLY PROPOSED] ORDER OF FINAL JUDGMENT
Case 2:18-cv-08048-SVW-JC     Document 165      Filed 12/12/19   Page 2 of 2 Page ID
                                    #:5873



  1        Currently before the Court is a Joint Stipulation for Final Judgment, filed by
  2 Plaintiff Vernon Unsworth and Defendant Elon Musk (collectively, the “Parties”).
  3        The Court, having read and considered the Joint Stipulation for Final
  4 Judgment GRANTS the Joint Stipulation,
  5        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
  6 DECREED:
  7        1. Final judgment is hereby entered in favor of Defendant Musk. Plaintiff
  8           Unsworth shall have and recover nothing by reason of his complaint
  9           against Defendant Musk.
 10        2. Each party shall bear his own costs associated with this action.
 11        3. Neither party shall seek to appeal or otherwise challenge any issue arising
 12           from or relating to the action.
 13        4. The parties fully and finally release any claims whether at law or in equity,
 14           whether known or unknown, that the parties may have against each other.
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      IT IS SO ORDERED
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      Dated: December 12, 2019
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                                                STEPHEN V. WILSON
 23                                             UNITED STATES DISTRICT JUDGE
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                                                 [JOINTLY PROPOSED] ORDER OF FINAL JUDGMENT
